            Case 06-10014-whd                          Doc 1           Filed 01/03/06 Entered 01/03/06 13:00:56                                            Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF GEORGIA                                                                               Voluntary Petition
                                                   ATLANTA DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
Hangar One, Inc.

All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                        (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more                          Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more
than one, state all):                                                                              than one, state all):
XX-XXXXXXX
Street Address of Debtor (No. & Street, City, and State):                                          Street Address of Joint Debtor (No. & Street, City, and State):
635 Regional Airport Road
Carrollton, GA
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           30117
County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:
Carroll
Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIPCODE                                                                                        ZIPCODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                         ZIPCODE


 Type of Debtor (Form of Organization)                         Nature of Business                                Chapter of Bankruptcy Code Under Which
               (Check one box.)                              (Check all applicable boxes.)                          the Petition is Filed (Check one box)
 ¨    Individual (includes Joint Debtors)
                                             ¨ Health Care Business
 þ Corporation (includes LLC and LLP)        ¨ Single Asset Real Estate as defined                 ¨ Chapter 7     þ Chapter 11                    ¨ Chapter  15 Petition for Recognition
                                                                                                                                                     of a Foreign Main Proceeding
 ¨ Partnership                                 in 11 U.S.C. § 101(51B)                             ¨ Chapter 9     ¨ Chapter 12
 ¨ Other  (If debtor is not one of the above ¨ Railroad                                                    ¨ Chapter 13                            ¨ Chapter 15 Petition for Recognition
   entities, check this box and provide the                                                                                                             of a Foreign Nonmain Proceeding
   information requested below.)             ¨ Stockbroker
   State type of entity:                     ¨ Commodity Broker                                                          Nature of Debts (Check one box)
                                             ¨ Clearing Bank                                       ¨ Consumer/Non-Business                         þ Business
                                             ¨ Nonprofit Organization qualified
                                               under 15 U.S.C. § 501(c)(3)                                                          Chapter 11 Debtors
                                                                                                   Check one box:
                             Filing Fee (Check one box)
                                                                                                   ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
 þ Full Filing Fee attached                                                                        þ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨ Filing Fee to be paid in installments (Applicable to individuals only)
   Must attach signed application for the court's consideration certifying that the                Check if:
      debtor is unable to pay fee except in installments. Rule 1006(b). See Official
      Form 3A.                                                                                     ¨ Debtor's   aggregate noncontigent liquidated debts owed to non-insiders or
                                                                                                     affiliates are less than $2 million.
 ¨ Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
   attach signed application for the court's consideration. See Official Form 3B.
 Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR COURT USE ONLY

 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.

 þ Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number
 of Creditors           1-          50-        100-          200-     1,000-      5,001-     10,001-   25,001-    50,001-     OVER
                        49          99         199           999      5,000       10,000     25,000    50,000     100,000    100,000
                        þ          ¨            ¨            ¨         ¨           ¨           ¨         ¨          ¨           ¨
 Estimated Assets
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   þ                 ¨                 ¨                 ¨                 ¨                 ¨               ¨                ¨
 Estimated Debts
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   ¨                 ¨                 ¨                 ¨                 þ                 ¨               ¨                ¨
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                                                                                                                                                             FORM B1, Page 2
 Voluntary Petition                                                                     Name of Debtor(s):    Hangar One, Inc.
 (This page must be completed and filed in every case)
                             Prior Bankruptcy Case Filed Within Last 8 Years                   (If more than two, attach additional sheet)
Location Where Filed:                                                                   Case Number:                                  Date Filed:


Location Where Filed:                                                                   Case Number:                                  Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                 (If more than one, attach additional sheet)
Name of Debtor:                                                                         Case Number:                                  Date Filed:


District:                                                                               Relationship:                                 Judge:


                                        Exhibit A                                                                              Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                           (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                              whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)     I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                        informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                        of title 11, United States Code, and have explained the relief available under each
                                                                                        such chapter.
 ¨ Exhibit A is attached and made a part of this petition.                              I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                        Bankruptcy Code.

                                                                                        X
                                                                                                                                                                    Date
                                        Exhibit C                                                   Certification Concerning Debt Counseling
 Does the debtor own or have possession of any property that poses or is alleged to                      by Individual/Joint Debtor(s)
 pose a threat of imminent and identifiable harm to public health or safety?
                                                                                        ¨ I/we have received approved budget and credit counseling during the 180-day
                                                                                          period preceding the filing of this petition.
 ¨      Yes, and Exhibit C is attached and made a part of this petition.
                                                                                        ¨ I/we request a waiver of the requirement to obtain budget and credit counseling
                                                                                          prior to filing based on exigent circumstances. (Must attach certifcation
 þ No                                                                                         describing.)


                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                 Venue (Check any applicable box)

 þ Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨ There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
 ¨ Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.


                                               Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                     Check all applicable boxes.


 ¨ Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)
                Name of landlord that obtained judgment:
                Address of landlord:




 ¨ Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and



 ¨ Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.




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                                                                                                                                                                    FORM B1, Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Hangar One, Inc.
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by § 342(b) of the
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by § 1515 of title 11 are attached.
 Bankruptcy Code.

 I request relief in accordance with the chapter of title 11, United States Code,            ¨ Pursuant  to § 1511 of title 11, United States Code, I request relief in accordance
                                                                                               with the chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                     order granting recognition of the foreign main proceeding is attached.


 X
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by an attorney)


     Date                                                                                        (Date)
                              Signature of Attorney                                                         Signature of Non-Attorney Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X /s/ William Russell Patterson, Jr.                                                        defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      William Russell Patterson, Jr.                   Bar No. 566920                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a
 Ragsdale, Beals, Hooper & Seigler LLP                                                       maximum fee for services chargeable by bankruptcy petition preparers, I have
 229 Peachtree Street, N.E.                                                                  given the debtor notice of the maximum amount before preparing any document
                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
 Suite 2400
                                                                                             section. Official Form 19B is attached.
 Atlanta, Georgia 30303-1629

          (404) 588-0500
 Phone No.______________________        (404) 523-6714
                                 Fax No.______________________                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     01/03/2006
     Date                                                                                    Social Security number (If the bankruptcy petition preparer is not an individual,
                                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                             partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
 Hangar One, Inc.
                                                                                                 Date
 X     /s/ James R. Gregg                                                                    Signature of Bankruptcy Petiton Preparer or officer, principal, responsible person, or
                                                                                             partner whose social security number is provided above.
      James R. Gregg
                                                                                             Names and Social Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     CEO                                                                                     an individual:
     Title of Authorized Individual

     01/03/2006                                                                               If more than one person prepared this document, attach additional sheets
     Date                                                                                     conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
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   (10/05)
                                             NORTHERN DISTRICT OF GEORGIA
                                                    ATLANTA DIVISION
   IN RE:    Hangar One, Inc.                                                                 CASE NO

                                                                                             CHAPTER          11

                        LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS


Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Fed. R.
Bankr. P. 1007(d) for filing in this Chapter 11 [or Chapter 9] case. The list does not include (1) persons who come within the definition
of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the creditors holding the 20
largest unsecured claims, indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. R.
Bankr. P. 1007(m).


                                  Name, telephone number and                                                  Indicate if
                                  complete mailing address,                                                   claim is
                                  including zip code, of                                                      contingent,
                                  employee, agent, or                                                         unliquidated,
 Name of creditor and complete    department of creditor familiar                                             disputed, or    Amount of claim (if
 mailing address including zip    with claim who may be             Nature of claim (trade debt, bank loan,   subject to      secured, also state
 code                             contacted                         goverment contract, etc.)                 setoff          value of security)

Maria A. Gregg                                                      Business debt                                                          $161,836.11
3310 Ethan Drive
Marietta, GA 30062




Professional Aircraft                                               Business debt                                                            $5,000.00
Accessories
7035 Centerland
Titusville, FL 32780



API-Aerospace Products                                              Business debt                                                            $3,968.04
International
P.O. Box 1000
Department 026
Memphis, TN 38143


National Peening                                                    Business debt                                                            $3,250.00
1902 Weining St.
Statesville, NC 28677




Home Depot/GECF                                                     Business debt                                                            $3,160.47
P.O. Box 9903
Macon, GA 31297-9903




CSSI, Inc.                                                          Business debt                                                            $2,511.11
400 Virginia Ave., SW
Suite 210
Washington, DC 20024
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                                                   ATLANTA DIVISION
  IN RE:     Hangar One, Inc.                                                                CASE NO

                                                                                            CHAPTER          11

                     LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                            Continuation Sheet No. 1


                                 Name, telephone number and                                                      Indicate if
                                 complete mailing address,                                                         claim is
                                 including zip code, of                                                         contingent,
                                 employee, agent, or                                                          unliquidated,
 Name of creditor and complete   department of creditor familiar                                               disputed, or      Amount of claim (if
 mailing address including zip   with claim who may be             Nature of claim (trade debt, bank loan,       subject to      secured, also state
 code                            contacted                         goverment contract, etc.)                          setoff       value of security)

Dinsmore & Shohl, LLP                                               Business debt                                                          $2,441.01
P.O. Box 640635
Cincinnati, OH 45264-0635




ATS-Applied Technical Services                                      Business debt                                                          $2,075.00
1190 Atlanta Industrial Drive
Marietta, GA 30066




McMaster-Carr Supply Co.                                            Business debt                                                          $1,752.83
P.O. Box 7690
Chicago, IL 60680-7690




Zep Manufacturing Company                                           Business debt                                                          $1,203.83
P.O. Box 404628
Atlanta, GA 30384-4628




Aircraft Accessories of                                             Business debt                                                            $930.10
Oklahoma, Inc.
2740 N. Sheridan
Tulsa, OK 74115



Airtechnics                                                         Business debt                                                            $631.71
P.O. Box 780048
Wichita, KS 67278-0048




Tex-Air Parts, Inc.                                                 Business debt                                                            $420.35
3724 N. Commerce
Fort Worth, TX 76106
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                                                   ATLANTA DIVISION
  IN RE:    Hangar One, Inc.                                                                 CASE NO

                                                                                            CHAPTER          11

                       LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                            Continuation Sheet No. 2


                                 Name, telephone number and                                                      Indicate if
                                 complete mailing address,                                                         claim is
                                 including zip code, of                                                         contingent,
                                 employee, agent, or                                                          unliquidated,
 Name of creditor and complete   department of creditor familiar                                               disputed, or      Amount of claim (if
 mailing address including zip   with claim who may be             Nature of claim (trade debt, bank loan,       subject to      secured, also state
 code                            contacted                         goverment contract, etc.)                          setoff       value of security)

ECAS-East Coast Aviation                                            Business debt                                                            $340.12
Supplies, Inc.
399 East Drive
Melbourne, FL 32904



Cotney Aerospace, Inc.                                              Business debt                                                            $340.00
P.O. Box 429
Helena, AL 35080-0429




Office Max-Boise Office                                             Business debt                                                            $277.00
Solutions
P.O. Box 101705
Atlanta, GA 30392-1705



Fastenal Company, Inc.                                              Business debt                                                            $254.82
P.O. Box 978
Winona, MN 55987-0978




SEARS Logistics                                                     Business debt                                                            $230.31
8374 North 4000 East
Manteno, IL 60950




Kelly Aerospace, Inc., Turbine                                      Business debt                                                            $221.30
Rotables
P.O. Box 643269
Cincinnati, OH 45264



Pro Cleaners                                                        Business debt                                                            $211.00
106 Folds Drive
Carrollton, GA 30117
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   (10/05)
                                            NORTHERN DISTRICT OF GEORGIA
                                                   ATLANTA DIVISION
   IN RE:    Hangar One, Inc.                                                              CASE NO

                                                                                          CHAPTER        11

                    LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                           Continuation Sheet No. 3


                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                          CEO                              of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       01/03/2006
Date:__________________________________                            /s/ James R. Gregg
                                                        Signature:________________________________________________________
                                                                   James R. Gregg
                                                                   CEO
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                                       NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION
  IN RE:   Hangar One, Inc.                                                        CASE NO

                                                                                  CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.



Date 01/03/2006                                          Signature    /s/ James R. Gregg
                                                                     James R. Gregg
                                                                     CEO


Date                                                     Signature
